sinsaction. Purchaser has inspected the property, including the |
‘described, and accepts the property in its present condition.

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6. The 2021 ad valorem taxes have pen paid by the Seller. The Purchaser will pay

te
the 2022 and all subsequent years’ ad y each year. Seller shall
furnished a copy 6

7.

eipt each year, as evidence of payment.
During the life of this contract, Purchaser shall insure and keep insured against fire
or other casualty, with a company rated B+ or better with Best Insurance Guide, all improvements
now on property and improvements that may hereafter be built thereon. Such insurance shall be
in the face amount of not less than the balance remaining due to Seller hereunder. All such
insurance shall insure the Seller and Purchaser as their interests may appear. Seller shall be
furnished a copy of the insurance policies at all times showing the policies to be in full force and
effect, Purchaser shall have the responsibility of purchasing a separate policy of insurance for
personal items and contents in the premises, if needed.

TITLE

8. The Seller shal! obtain, at Seller's expense, ten (10) days prior to the delivery of

